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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI



 STATE OF MISSOURI, et al.,

                    Plaintiffs,

          v.                                          Case No. 4:21-CV-01329-MTS

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et
 al.,

                    Defendants.


                      CONSENT MOTION TO STAY PROCEEDINGS

       The Defendants respectfully move to stay further proceedings in the district court during

the pendency of the Defendants’ appeal of this Court’s order granting the Plaintiffs’ motion for a

preliminary injunction. The undersigned counsel has consulted with counsel for the Plaintiffs,

who has confirmed that the Plaintiffs consent to the relief requested in this motion.

       1. On November 12, 2021, the Plaintiffs filed a motion for a preliminary injunction. ECF

No. 6. The Defendants opposed the motion. ECF No. 23. This Court granted the Plaintiffs’

motion on November 29, 2021. ECF No. 28.

       2. The Defendants filed a notice of appeal of this Court’s order to the United States Court

of Appeals for the Eighth Circuit. ECF No. 29. The Defendants moved for a stay of the injunction

before this Court and before the Eighth Circuit; both courts denied the motion for a stay. ECF No.

35, ECF No. 38.

       3. The Defendants have filed an application in the Supreme Court for a stay of the

injunction during the pendency of the appeal and of any proceedings in the Supreme Court. Biden,



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et al. v. Missouri, et al., No. 21A240 (U.S. application filed Dec. 16, 2021). That application

remains pending before the Supreme Court.

       4. The parties agree that the Eighth Circuit’s decision on appeal, as well as the Supreme

Court’s decision on the application for a stay, are likely to guide further proceedings in this case,

and that staying district court proceedings pending the appeal will preserve the resources of the

parties and this Court. See Landis v. North Am. Co., 299 U.S. 248, 254–55 (1936) (A district

court’s “power to stay proceedings is incidental to the power inherent in every court to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.”); see also Seefeldt v. Ent. Consulting Int’l, LLC, No. 4:19-CV-00188-MTS, 2020

WL 4922371, at *1 (E.D. Mo. Aug. 21, 2020).

       For these reasons, the Defendants respectfully request that the Court stay proceedings in

the district court during the pendency of the Defendants’ appeal of this Court’s preliminary

injunction order.

Dated: December 22, 2021                      Respectfully submitted,

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